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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN

 ROTHSCHILD CONNECTED DEVICES
 INNOVATIONS, LLC,

           Plaintiff,
                                                            Case No.
 v.

 THE COCA-COLA COMPANY,

           Defendant.


      DECLARATION OF AMY M. BOWERS-ZAMORA IN SUPPORT OF PLAINTIFF
       ROTHSCHILD CONNECTED DEVICES INNOVATIONS LLC’S MOTION TO
            COMPEL NON-PARTY PLEXUS CORP. TO COMPLY WITH
                SUBPOENA FOR DOCUMENTS AND TESTIMONY

        I, Amy M. Bowers-Zamora, hereby declare and state as follows:

        1.        My name is Amy M. Bowers-Zamora. I am of legal age and under no legal

disability. I have personal knowledge of the facts in this Declaration and know them to be true and

correct.

        2.        I am an attorney with Carey Rodriguez Milian Gonya, LLP and represent Plaintiff

Rothschild Connected Devices Innovations, LLC (“RCDI”) in the above-captioned matter. I make

this Declaration in support of RCDI’s Motion to Compel Non-Party Plexus Corp. (“Plexus”) to

Comply with Subpoena for Documents and Testimony.

        3.        Attached hereto as Exhibit 1 is a true and correct copy of RCDI’s February 6, 2018

subpoena for documents and testimony (the “Subpoena”) served on Plexus.

        4.        Attached hereto as Exhibit 2 is a true and correct copy of RCDI’s Complaint in the

above-captioned matter.

        5.        Attached hereto as Exhibit 3 is a true and correct copy of the February 9, 2018
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return of service of the Subpoena.

       6.      Attached hereto as Exhibit 4 is a true and correct copy of Plexus’ February 23,

2018 Responses and Objections to RCDI’s Notice of Subpoena.

       7.      Attached hereto as Exhibit 5 is a true and correct copy of the Certificate of Non-

Appearance for Plexus’ failure to attend its deposition.

       8.      Attached hereto as Exhibit 6 is a true and correct copy of the Court’s February 24,

2018 Stipulated Protective Order (D.E. 27).

       9.      Attached hereto as Composite Exhibit 7 is a true and correct copy of RCDI’s

counsel’s February 24, 2018 and February 26, 2018 emails to The Coca-Cola Company’s counsel.

       I declare under penalty of perjury that the foregoing is true and correct.

       Executed this 28th day of February, 2018.

                                              /s/ Amy M. Bowers-Zamora
                                              Amy M. Bowers-Zamora
